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                               UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF MISSOURI
                                             EASTERN DIVISION
 -------------------------------------------------------x
 In re                                                 :  Case No. 17-42267-659
                                                       :  Chapter 11
 PAYLESS HOLDINGS, LLC, et al.,1                       :
                                                       :  Jointly Administered
                                                       :
                   Debtors.                            :  Hearing Date: May 31, 2017
                                                       :  Hearing Time: 10:00 a.m.
                                                       :
 -------------------------------------------------------x

     OBJECTION OF THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS TO
          DEBTORS’ MOTION FOR ENTRY OF AN ORDER (I) APPROVING THE
     ADEQUACY OF THE DEBTORS’ DISCLOSURE STATEMENT, (II) FIXING DATES
          AND DEADLINES RELATED TO CONFIRMATION OF THE PLAN, (III)
       APPROVING CERTAIN PROCEDURES FOR SOLICITING AND TABULATING
      THE VOTES ON, AND FOR OBJECTING TO, THE PLAN, (IV) APPROVING THE
     RIGHTS OFFERING PROCEDURES, SUBSCRIPTION FORM AND AUTHORIZING
      THE RETENTION OF FINANCIAL BALLOTING GROUP LLC IN CONNECTION
         THEREWITH, AND (V) APPROVING THE MANNER AND FORM OF THE
              NOTICES AND OTHER DOCUMENTS RELATED THERETO




 1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, are: Payless Holdings LLC [5704]; Payless Intermediate Holdings LLC [N/A]; WBG-PSS Holdings LLC
 [N/A]; Payless Inc. [3160]; Payless Finance, Inc. [2101]; Collective Brands Services, Inc. [7266]; PSS Delaware
 Company 4, Inc. [1466]; Shoe Sourcing, Inc. [4075]; Payless ShoeSource, Inc. [4097]; Eastborough, Inc. [2803];
 Payless Purchasing Services, Inc. [3043]; Payless ShoeSource Merchandising, Inc. [0946]; Payless Gold Value CO,
 Inc. [3581]; Payless ShoeSource Distribution, Inc. [0944]; Payless ShoeSource Worldwide, Inc. [6884]; Payless
 NYC, Inc. [4126]; Payless ShoeSource of Puerto Rico, Inc. [9017]; Payless Collective GP, LLC [N/A]; Collective
 Licensing, LP [1256]; Collective Licensing International LLC [5451]; Clinch, LLC [9836]; Collective Brands
 Franchising Services, LLC [3636]; Payless International Franchising, LLC [6448]; Collective Brands Logistics,
 Limited [6466]; Dynamic Assets Limited [1978]; PSS Canada, Inc. [4969]; Payless ShoeSource Canada Inc. [4180];
 Payless ShoeSource Canada GP Inc. [4182]; and Payless ShoeSource Canada LP [4179]. The location of Debtor
 Payless Holdings LLC’s corporate headquarters and the Debtors’ service address is: c/o Payless ShoeSource, Inc.,
 3231 SE 6th Avenue, Topeka, KS 66607, United States.


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          The Official Committee of Unsecured Creditors (the “Committee”) of Payless Holdings,

 LLC (“Payless Holdings”), et al. (the “Debtors”) hereby objects (the “Objection”) to the

 Debtors’ Motion for Entry of an Order (I) Approving the Adequacy of the Debtors’ Disclosure

 Statement, (II) Fixing Dates and Deadlines Related to Confirmation of the Plan, (III) Approving

 Certain Procedures for Soliciting and Tabulating the Votes On, and for Objecting to, the Plan,

 (IV) Approving the Rights Offering Procedures, Subscription Form and Authorizing the

 Retention of Financial Balloting Group LLC in Connection Therewith, and (V) Approving the

 Manner and Form of the Notices and Other Documents Related Thereto [Docket No. 377] (the

 “DS Motion”) and the Disclosure Statement for the Joint Plan of Reorganization of Payless

 Holdings LLC and Subsidiary Debtors [Docket No. 416] (the “Disclosure Statement”).2 In

 support of its Objection, the Committee respectfully represents as follows:

                                                          I.

                                       PRELIMINARY STATEMENT

                   1.       The Disclosure Statement is, by the Debtor’s own admission, merely a

 placeholder filed to meet the fast-track milestones contained in the prepetition Restructuring

 Support Agreement (the “RSA”) between the Debtors and certain consenting holders of

 prepetition secured debt. The Disclosure Statement, and the Plan that it purports to describe, are

 lacking even the most basic information necessary for creditors to determine whether to accept or

 reject the Plan. The Debtors’ statement that the Disclosure Statement will contain adequate

 information “by the time of the hearing on the Disclosure Statement” is offensive to any notion




 2
   Original versions of the Plan and Disclosure Statement were filed on April 25, 2017. At the direction of the Court,
 corrected versions of the Plan and Disclosure Statement were filed on April 27, 2017 (at Docket Nos. 415 and 416)
 to include signatures for the Debtors’ CFO, Michael Schwindle. Certain typographical errors were also corrected
 with those filings.

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 of due process or fair compliance with federal and local bankruptcy rules. Such blatant disregard

 of the procedural requirements of this Court should not be condoned.

                  2.         There is more meaningful information missing from the Disclosure

 Statement than is included:

                             •   The Disclosure Statement contains a chart entitled “Summary of
                                 Claims and Interests and Estimated Recoveries” that is completely
                                 blank for both the estimated allowed amount of claims and estimated
                                 recovery with respect to each and every class of claims and interests.

                             •   The proposed distributions to unsecured creditors, which are
                                 improperly balkanized into four separate classes without any
                                 explanation whatsoever, are also blank.

                             •   All key exhibits are missing.

                             •   No valuation analysis (Exhibit A).

                             •   No projections (Exhibit B).

                             •   No liquidation analysis (Exhibit C).

                             •   The Disclosure Statement has no breakdown of assets and liabilities of
                                 the separate Debtors that would allow for any understanding by
                                 creditors of the relative solvency or insolvency of each entity or the
                                 amounts of distributions projected to be made to creditors as a result.

                             •   The Disclosure Statement provides no description of each of the
                                 Debtor entities, their purpose, the corporate structure, intercompany
                                 claims and how the Debtors propose to transfer funds by and among
                                 the entities to fund obligations under the Plan.

                             •   There is no disclosure as to the relationship between the Debtor
                                 entities and why there should not be substantive consolidation of
                                 certain Debtors for Plan or operating purposes.

                             •   There is no discussion in the Disclosure Statement concerning the
                                 potentially valuable unencumbered estate claims that are to be
                                 released, the value of those claims and the consideration provided for
                                 the releases.

                             •   There is no disclosure that the equity holders who control the Board of
                                 Directors withdrew over $350 million of capital in exchange for no


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                                 consideration whatsoever. Specifically, nowhere in the Disclosure
                                 Statement is the fact specifically disclosed that the Debtors’ equity
                                 holders, Golden Gate Capital (“Golden Gate”) and Blum Capital
                                 (“Blum”), which together hold 98.5% of the Debtors’ equity and
                                 control the Debtors’ board of directors, received over $350 million of
                                 dividends in recent years. These dividends were funded by the same
                                 secured debt that drove the Debtors’ bankruptcy filing. Indeed a
                                 search of the entire Disclosure Statement uncovers no mention of
                                 either Golden Gate or Blum by name.

                             •   The tax analysis fails to state whether -- based on the actual creditors
                                 that are converting their debt to equity -- the Debtors believe there
                                 will be a limitation on the Debtors’ net operating losses or other tax
                                 attributes.

                             •   The Motion seeks (in the title of the Motion) approval of procedures
                                 related a rights offering but the Motion itself and the Plan do not
                                 discuss any rights offering.
                  3.         The Debtors have repeatedly indicated to the Committee that they would

 file an amended disclosure statement to provide the critical missing information, but as of the

 date hereof and with only a week before the scheduled hearing (including an intervening federal

 holiday), nothing has been provided. There are thousands of creditors in these cases. Those

 creditors, in addition to the Committee and other parties in interest, are entitled to notice and an

 opportunity to review the actual disclosure statement rather than be the victims of a bait and

 switch right before the hearing as the Debtors have indicated they plan to attempt.3

                  4.         These “prearranged” or “pre-negotiated” chapter 11 cases were devised by

 the Debtors and the consenting lenders with no input by general unsecured creditors. They have

 engineered a process with manufactured deadlines that bind the Debtors to fast-track

 confirmation proceedings with respect to a plan that hands over the company to the consenting

 lenders, gives up to 10% of the new equity to un-named insiders, and grants broad releases of

 valuable estate claims against the Debtors’ equity holders and other insiders, while paying almost




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 nothing to general unsecured creditors left holding over one hundred and fifty million dollars of

 claims, and who are continuing to provide goods and services to these Debtors.

                   5.        The first question any holder of a general unsecured claim would be

 expected to ask before voting on the Plan is “how much are the Debtors proposing to pay on my

 claim?” Yet, the Disclosure Statement, as filed, fails to provide any estimate of potential

 financial recoveries to the holders of such claims. Without an answer to that question, and many

 others, informed voting by holders of general unsecured claims is not possible.

                   6.        Furthermore, the Plan is defective because, among other things, it is not

 feasible, fails the “best interests of creditors” test, and unfairly discriminates against certain

 classes of unsecured creditors.

                   7.        Based on the foregoing and as set forth more fully below, the Court should

 deny approval of the Disclosure Statement and direct the Debtors to notice a new disclosure

 statement hearing only after the actual document that they are seeking to have approved is on

 file.

                                                         II.

                                         STATEMENT OF FACTS

 A.      Background

                   8.        On April 4, 2017 (the “Petition Date”), each of the Debtors filed a

 voluntary petition with this Court under chapter 11 of the Bankruptcy Code. The Debtors are

 operating their businesses and managing their properties as debtors in possession pursuant to

 sections 1107(a) and 1108 of the Bankruptcy Code. No trustee or examiner has been appointed

 in these cases.


 3
   On May 23, 2017, the Debtors filed a notice extending the objection deadline to May 26, 2017 at 4:00 p.m. CT, as
 a further indication that they plan to file last minute changes to the Disclosure Statement without an adequate


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                  9.         On April 14, 2017, the Office of the United States Trustee appointed the

 Committee pursuant to section 1102 of the Bankruptcy Code. The Committee consists of:

 (i) Moda Shoe, Ltd.; (ii) Qingdao Doublestar Mingren Imp. And Exp. Co.; (iii) C and C Accord,

 Ltd.; (iv) The Asean Corporation, Ltd.; (v) GGP Limited Partnership; (vi) Simon Property

 Group, Inc.; and (vii) Brixmor Property Group, Inc.

                  10.        On May 17, 2017, the Court entered the Final Order (I) Authorizing the

 Debtors to Obtain Postpetition Financing, (II) Authorizing the Debtors to Use Cash Collateral,

 (III) Granting Liens and Providing Superpriority Administrative Expenses Status, (IV) Granting

 Adequate Protection to the Prepetition Lenders, (V) Modifying the Automatic Stay, and (V)

 Granting Related Relief [Docket No. 778] (the “Final DIP Order”). The Final DIP Order

 memorializes the resolution of concerns raised by the Committee. It provides, among other

 things, that certain of the estates’ causes of action, including those relating to the 2012 LBO and

 Dividend Recaps (each as defined below) remain unencumbered.

 B.      Potential Claims Arising From the 2012 LBO, 2013 Dividend Recap
         and 2014 Dividend Recap

                  11.        In May 2012, Collective Brands, Inc. split into two groups of companies:

 (i) Payless Inc. and subsidiaries (i.e., the Debtors); and (ii) a group of subsidiaries that were sold

 to Wolverine World Wide Inc. Payless Inc. was acquired by Golden Gate and Blum. To fund

 the acquisition, the Debtors incurred $382 million of new debt. In connection with this leveraged

 buyout (the “2012 LBO”), the Debtors’ ownership was rearranged such that Payless Holdings

 became the ultimate parent of Payless Inc., and Golden Gate and Blum held the membership

 interests in Payless Holdings. In addition, the Debtors entered into an advisory agreement with




 opportunity for the Committee or any creditors to review and respond accordingly prior to the scheduled hearing.


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 Golden Gate and Blum pursuant to which Golden Gate and Blum have been paid millions of

 dollars in fees.

                    12.      On February 27, 2013, Payless Inc. and other Debtors borrowed an

 additional $225 million, thereby increasing the Debtors’ total debt to $595 million. The $225

 million in proceeds was upstreamed from Payless Inc. as borrower to Payless Holdings and

 ultimately paid as dividends to Golden Gate and Blum (the “2013 Dividend Recap”).

                    13.      In March 2014, the Debtors issued $665 million in new debt. In

 connection therewith, $127 million of such proceeds was paid to Golden Gate and Blum as

 dividends (the “2014 Dividend Recap” and, together with the 2013 Dividend Recap, the

 “Dividend Recaps”).

                    14.      The Debtors’ Board of Directors, which was dominated by Golden Gate

 and Blum designees, approved the 2013 Dividend Recap and 2014 Dividend Recap.

                    15.      In January 2017, Charles Cremens was appointed as the Debtors’

 “independent director.” At his direction, Munger, Tolles & Olson LLP (“MTO”) was retained to

 investigate the Debtors’ potential claims against Golden Gate and Blum in connection with the

 2012 LBO, the 2013 Dividend Recap and the 2014 Dividend Recap. MTO was retained as

 conflicts counsel on a final basis effective as of the Petition Date to represent the Debtors in

 these cases to continue its investigation regarding the existence of potential estate claims arising

 from these prepetition transactions between Payless and its shareholders, Golden Gate and Blum.

 The Debtors have not retained an independent expert to evaluate the key issue of whether the

 Debtors were solvent at the times of the 2012 LBO and/or the Dividend Recaps. Nor have the

 Debtors advised the Committee as to whether the Debtors have reached any conclusions

 regarding the value of potential claims arising from the 2012 LBO and/or the Dividend Recaps.




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                  16.        On May 9, 2017, the Committee filed its Application to Employ Back Bay

 Management Corporation and its Division, the Michel-Shaked Group, as Expert Consultant and

 Dr. Israel Shaked as Expert Witness [Docket No. 643], which seeks to retain an expert (the

 “Committee Expert”) effective as of April 27, 2017, to conduct an independent investigation on

 behalf of the Committee with respect to, among other things, claims arising from the 2012 LBO

 and Dividend Recaps. The Committee’s investigation with respect to such claims is ongoing.

                  17.        The Committee’s professionals were directed by the Debtors’ lead

 counsel, Kirkland & Ellis, to interface with MTO regarding the investigation it has been

 conducting since January 2017 because the claims under investigation – whether against the

 Debtors’ equity holders, their past and present officers and directors, lenders, professionals and

 others – are intended to be released under the Debtors’ proposed plan of reorganization without

 any meaningful consideration.

                  18.        To date MTO has provided documents and responded to requests for

 information on an informal basis. Substantial requests for the production of documents and

 critical information requests by the Committee remain outstanding as of the date hereof and

 MTO has not completed its investigation.

                  19.        While the Committee’s professionals, including the Committee Expert,

 continue to conduct their own independent investigation, it has become apparent that valuable

 estate claims for, among other things, fraudulent transfer, illegal payment of dividends and

 breach of fiduciary duty exist. Such claims are unencumbered under the Final DIP Order and

 would be available to satisfy unsecured claims absent the Debtors’ proposed release of such

 claims under the Plan.




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 C.       The Proposed Plan and Disclosure Statement

                  20.        On April 4, 2017, the Debtors entered into the RSA, which has the support

 of parties who hold or control, in the aggregate, approximately two-thirds in amount of each of

 the Debtors’ first and second lien term loans. The Debtors also secured the DIP Facilities from

 their Prepetition ABL Facility Lenders and certain of the consenting lenders under the RSA. The

 intent of the RSA, coupled with the DIP, plainly was to put the Debtors irrevocably on course for

 confirmation of the Plan.

                  21.        On April 25, 2017, the Debtors filed with this Court their proposed plan of

 reorganization [Docket No. 415] (the “Plan”) consistent with the RSA filed on the Petition Date,

 and the accompanying Disclosure Statement. The Debtors have not sought to assume the RSA.

 The Debtors conclude that they “believe that the terms of the Restructuring Support Agreement,

 which are built into the Plan, are fair, equitable, and maximize the value of the Debtors’ estates,

 providing the best available recovery for the Debtors [sic] stakeholders.” Disclosure Statement

 at 15.

                  22.        The Plan is a debt-for-equity plan, which essentially provides the

 following:

                             a.     ABL DIP Claims will be paid in full from proceeds of the New

 ABL Facility.

                             b.     Holders of the Term DIP Facility Claims will receive, on a dollar-

 for-dollar-basis, their pro rata share of the New First Lien Term Loan A-1 Tranche.

                             c.     First Lien Term Lenders’ claims are allowed in the amount of

 $505.7 million and holders thereof will receive their pro rata share of 91% of the new equity of

 the Reorganized Debtors (the “New Equity”), subject to reduction by the equity recovery to

 holders of unsecured claims against Payless ShoeSource Worldwide (“Worldwide”), and subject


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 to dilution from (a) the management equity incentive plan (6-10% of the New Equity on a fully

 diluted basis) (the “MEIP”), and (b) the exit commitment fee (which is New Equity of a value

 equal to 2.5% of the amount of the Term DIP Facility as of the Effective Date). Holders of such

 claims also will receive a pro rata share of the New First Lien Term Loan A-1 Tranche.

                             d.     Second Lien Term Lenders’ claims are allowed in the amount of

 “$[145 million]” and holders thereof will receive on account of such claims (which include the

 unsecured deficiency portion of such claims) the remaining pro rata share of 9% of the New

 Equity (subject to dilution from the MEIP and the exit commitment fee).

                             e.     The general unsecured claims’ treatment was filed as a placeholder

 with blanks for general unsecured creditor recoveries. The Debtors propose four different

 classifications and disparate treatment for general unsecured claims, as follows:

                  (i)        Qualified Unsecured Trade Claims (Class 5) consist of claims held by

 preferred ongoing trade vendors that offer trade terms and will be given a percentage payment of

 their claims after taking into account payments made by the Debtors to such holders on account

 of general unsecured claims or under other plan classes. The percentage amount in the Plan and

 Disclosure Statement is blank and to be determined.

                  (ii)       Other General Unsecured Claims (Class 6A) consist of unsecured claims

 against one or more of the Debtors other than Qualified Unsecured Trade Claims, Worldwide

 General Unsecured Claims, or Canadian General Unsecured Claims. They will receive a pro

 rata share of the Other General Unsecured Claims Recovery Pool, which will be funded from the

 Term DIP Facility. The recoveries are subject to dilution by the unsecured deficiency claims

 held by the First Lien Term Lenders and Second Lien Term Lenders. The Disclosure Statement




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 and Plan do not specify the amount of the Other General Unsecured Claims Recovery Pool to be

 distributed to these creditors, or what their expected percentage recovery is.

                  (iii)      Worldwide General Unsecured Claims (Class 6B) consist of unsecured

 claims against Worldwide. The Plan provides alternative treatment depending on whether the

 holder of a Worldwide claim has made an election (i.e., the Worldwide GUC Cash-Out Election)

 to receive cash on account of the holder’s claim or a pro rata share of the Worldwide New Equity

 Recovery.

                             If the holder does not make the Worldwide GUC Cash-Out Election, the

 holder will receive its pro rata share of an undetermined percentage of New Equity (subject to

 dilution from the MEIP and the exit commitment fee).

                             The value of the New Equity is equal to the pro rata share of

 unencumbered property at Worldwide to which Worldwide unsecured creditors would otherwise

 be entitled to receive (net of value used to pay administrative and priority claims and taking into

 account the First Lien Term Lenders’ deficiency claims and the Second Lien Term Lenders’

 claims).

                             The Worldwide GUC Cash Out Option Payment is defined as a cash

 payment no less than the lesser of (a) “[__]% of the value” of the Worldwide New Equity

 Recovery that such holder would have otherwise been entitled to had it not made the Worldwide

 GUC Cash Out Election and (b) such holder’s pro rata share of “$[__]” (which amount is the

 total amount of cash that would be paid assuming all holders of the estimated Worldwide

 General Unsecured Claims, as estimated in the Disclosure Statement, make the Worldwide GUC

 Cash Out Election).




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                  (iv)       Canadian General Unsecured Claims (Class 6C) are general unsecured

 claims against Payless ShoeSource Canada, Inc., Payless ShoeSource Canada GP Inc., and

 Payless ShoeSource Canada, LP and will be reinstated and rendered unimpaired.

                             f.     Intercompany claims held by a Debtor against another Debtor or

 affiliate of a Debtor or by an affiliate of a Debtor against a Debtor will be canceled, reinstated or

 compromised in the Debtors’ determination with the consent of the requisite consenting lenders.

                             g.     The Plan includes broad releases by the Debtors of various parties

 (the “Released Parties”) which include the Debtors, current and former officers and directors,

 Prepetition First and Second Lien Lenders and Agents, other lenders and agents, Sponsors (as

 defined in the Prepetition First Lien Credit Agreement), parties to the RSA and all successors,

 assigns, principals, members, shareholders, etc. of the foregoing entities.

                                    The Plan also provides for Third Party Releases of the Released

 Parties. Along with the Debtors, the “Releasing Parties” include the lenders, the Sponsors,

 holders of claims and interests (a) who vote in favor of the Plan, (b) are deemed unimpaired and

 presumed to accept the Plan, or (c) do not expressly opt out of the releases. The Plan provides

 no consideration for the releases and the Disclosure Statement provides no analysis whatsoever

 of the nature, extent or value of the claims that are proposed to be released.

                                                    III.

                                               OBJECTION

 A.      Approval of the Disclosure Statement Must Be Denied

                  23.        Bankruptcy Rule 2002(b) requires 28 days’ notice of the objection to a

 Disclosure Statement. The purpose of these rules is to afford creditors and other parties in

 interest sufficient time to review the proposed disclosure statement, determine whether it meets

 the standards of section 1125 of the Bankruptcy Code, and present their objections to the Court.


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 In order to comport with due process requirements, the 28-day period does not begin to run when

 a placeholder document laden with blanks for substantive information is filed, but only when a

 complete document providing “adequate information” (or something close to adequate

 information) is actually filed. To date, the Debtors have attempted to circumvent this basic due

 process requirement first by filing a “bare bones” placeholder Disclosure Statement, which is

 missing the most fundamental, critical and necessary information for holders of general

 unsecured claims and other classes of claims to render an informed decision on a plan and

 indicating their intent to fill in the blanks by the time of the hearing. The Court should not

 condone this trickery. Absent a complete document, a party in interest is unable to determine

 “what it is going to get, when it is going to get it, and what contingencies there are to getting its

 distribution.” In re Ferretti, 128 B.R. 16, 19 (Bankr. D.N.H. 1991).

                  24.        Although the Debtors may argue that they have technically satisfied their

 28-day notice requirement by filing a document titled “Disclosure Statement,” the document that

 was filed is not sufficient to satisfy fundamental notice requirements. The Debtors have

 repeatedly indicated to the Committee that they would file the real disclosure statement with the

 actual information, but to date have failed to do so. Accordingly, the Court should hold the

 Debtors to the plain language of the Bankruptcy Rules and deny approval of the Disclosure

 Statement and admonish the Debtors to schedule a hearing on a Disclosure Statement only when

 the document is complete for creditors and parties in interest to review.

 B.      The Disclosure Statement Should Not Be Approved Because it Does
         Not Contain Adequate Information as Required by Section 1125 of
         the Bankruptcy Code

                  25.        The Disclosure Statement fails to satisfy section 1125 of the Bankruptcy

 Code in numerous material respects. Section 1125(b) of the Bankruptcy Code requires that a

 proponent of a plan and disclosure statement demonstrate that the disclosure statement includes


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 “adequate information” for creditors and other parties in interest to make an informed judgment

 about the plan. In determining whether a plan proponent has provided “adequate information” to

 creditors and parties in interest, the standard is not whether the failure to disclose information

 would harm creditors but whether “hypothetical reasonable investors receive such information as

 will enable them to evaluate for themselves what impact the information might have on their

 claims and on the outcome of the case, and to decide for themselves what course of action to

 take.” In re Applegate Prop., Ltd., 133 B.R. 827, 831 (Bankr. W.D. Tex. 1991). Significantly,

 even if more thorough disclosure would not have affected an objecting creditor’s vote, that

 creditor still has standing to object because inadequate disclosure may have induced other

 creditors to approve the plan. Everett v. Perez (In re Perez), 30 F.3d 1209, 1217 (9th Cir. 1994).

 For a creditor to fairly evaluate the results of a proposed plan, the court must ensure that a

 disclosure statement sets forth “all those factors presently known to the plan proponent to bear

 upon the success or failure of the proposals contained in the plan.” See In re Jeppson, 66 B.R.

 269, 292 (Bankr. D. Utah 1986; In re Ferretti, 128 B.R. at 19 (holding that a proper disclosure

 statement must “clearly and succinctly inform the average unsecured creditor what it is going to

 get, when it is going to get it, and what contingencies there are to getting their [sic]

 distribution.”).

                    26.      Whether a disclosure statement contains “adequate information” should be

 assessed from the perspective of the claims or interest holders with the ability to vote. See In re

 Phoenix Petroleum Co., 278 B.R. 385, 393 (Bankr. E.D. Pa. 2001) (citing In re Monroe Well

 Serv., Inc., 80 B.R. 324, 330 (Bankr. E.D. Pa. 1987)); see also 11 Collier on Bankruptcy,

 1125.03[1] (courts should “consider the needs of the claims or interest of the class as a whole

 and not the needs of the most sophisticated or least sophisticated members of a particular class”).




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                  27.        Here, the Disclosure Statement is filled with boilerplate language and

 omits basic information about matters of primary concern to creditors. How much do unsecured

 creditors stand to receive under the Plan? What is the basis for such estimate? What claims will

 be pursued? What is the extent of claims that are being released and what is their value? Absent

 such disclosures, creditors have not been provided with “adequate information” to make an

 informed decision as to whether to accept or reject the Plan.

                  1.         The Disclosure Statement Contains No Valuation Analysis

                  28.        Although the Committee recognizes that section 1125(b) of the

 Bankruptcy Code provides that inclusion of a valuation in a disclosure statement is not

 mandatory per se, see 11 U.S.C. § 1125(b), a debtor may not omit a valuation where case

 circumstances manifestly require its inclusion. See In re Reilly, 71 B.R. 132, 135 (Bankr. D.

 Mon. 1987). Indeed, courts have refused to approve a disclosure statement because a debtor

 failed to include a valuation of its enterprise. See In re Cardinal Congregate I, 121 B.R. 760,

 767 (Bankr. S.D. Ohio 1990) (rejecting debtor’s amended disclosure statement for lacking

 information “regarding the . . . . valuation methods used in preparation” of the disclosure

 statement); In re Metrocraft Pub. Serv., Inc., 39 B.R. 567, 570 (Bankr. N.D. Ga. 1984) (denying

 approval of debtor’s disclosure statement for failing to provide valuation of machinery and

 equipment, and observing that “[a]bsent a valuation of the assets . . . the disclosure statement

 does not provide adequate information as required by the Bankruptcy Code”) (emphasis added);

 In re Copy Crafters Quickprint, Inc., 92 B.R. 973, 981 (Bankr. N.D.N.Y. 1988) (rejecting

 disclosure statement for not including valuation); In re Scioto Valley Mortg. Co., 88 B.R. 168,

 172 (Bankr. S.D. Ohio 1988) (finding that circumstances of the case “would appear to mandate,

 at a minimum,” the debtor’s inclusion of a valuation in the disclosure statement).




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                  29.        Valuation is a key issue in these cases because, although estimated

 percentage recoveries are now blank and “TBD,” the Plan plainly assumes there is minimal value

 available for unsecured creditors with no disclosure regarding how the Debtors’ reached that

 conclusion. Creditors cannot understand what they are receiving or what they ought to be

 receiving from the Debtors’ unencumbered assets without a detailed valuation, particularly one

 that includes an appropriate allocation of value among the Debtors and recoveries across

 different unsecured creditor constituencies given the proposed balkanization of general

 unsecured claims into four separate classes. Unsecured creditors also must have the benefit of

 the Committee’s view of value in order to understand what they are entitled to receive under a

 plan. Without this information, the unsecured creditors cannot make an informed decision to

 either accept or reject the Plan.

                  2.         The Disclosure Statement Contains No Financial Projections

                  30.        The information provided in a Disclosure Statement should include

 financial projections:

                  A plan is necessarily predicated . . . . on factually supported
                  expectations as to future course of the business sufficient to meet
                  the feasibility standard . . . It may thus be necessary to provide
                  estimates or judgments for that purpose. Yet it remains practicable
                  to describe, in such detail as may be relevant and needed, the basis
                  for the plan and the data on which supporters of the plan rely.

 S. Rep. No. 989, 95th Cong. 2d Sess. 121. 56. Courts have also recognized the need for detailed

 disclosure in this regard:

                  The Debtor should provide the projection of operations subsequent
                  to confirmation so that the Court may determine the feasibility of
                  the plan. The Debtor is required to make a full, clear, and
                  complete disclosure of all underlying assumptions. The Debtor
                  must provide sufficient financial information to determine if the
                  projections for operations subsequent to confirmation are feasible.
                  If the plan assumes an increase in income, the basis for this
                  assumption must be set forth.


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 In re Malek, 35 B.R. 443, 444 (Bankr. E.D. Mich. 1983); see also In re Cardinal Congregate I,

 121 B.R. at 767 (a disclosure statement “should clearly identify all assumptions made in

 calculating pro forma information and should set forth those facts supporting all estimates,”

 especially when plan depends on debtor’s ability to improve its financial performance); In re

 Dakota Rail, Inc., 104 B.R. 138, 148-149 (Bankr. D. Minn. 1989) (“A disclosure statement is

 misleading where it contains glowing opinions or projections, having little or no basis in fact

 and/or contradicted by known fact”); In re Civitella, 15 B.R. 206, 208 (Bankr. E.D. Pa. 1981)

 (mere allegations or opinions unsupported by factual information in the disclosure statement do

 not meet the standard of adequate information).

                  31.        Although the proposed Plan reduces the leverage on the Debtors from

 $838 million on the Petition Date to a projected $469 million on the effective date of the Plan,

 there are no plan projections on file, however, and no information for creditors to evaluate

 whether the Debtors can service this level of debt post-confirmation. The Debtors’ conclusion

 regarding the ability of the Reorganized Debtors to sustain the amount of proposed leverage,

 unsubstantiated by any factual information, fails to meet the standard of adequate information

 necessary to enable creditors to consider the value of these estates, evaluate the feasibility of the

 Plan or determine whether they should accept or reject its terms.

                  3.         The Disclosure Statement Contains No Liquidation Analysis

                  32.        A disclosure statement must contain a detailed liquidation analysis that

 explains any assumptions made in the preparation of such analysis so that creditors can make an

 informed decision about the alternatives to a debtor’s plan. See In re Crowthers McCall Pattern,

 Inc., 120 B.R. 279, 300-301 (Bankr. S.D.N.Y. 1990).

                  33.        The Disclosure Statement contains no liquidation analysis. Without any

 disclosures regarding unencumbered assets (e.g., the value of estate causes of action, including


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 claims arising from the 2012 LBO and Dividend Recaps), general unsecured creditors cannot

 draw a conclusion as to whether the value they will receive under the Plan exceeds the value they

 would receive in a liquidation. See 11 U.S.C. §1129(a)(7)(A)(ii). Accordingly, it is impossible

 for such creditors to make an informed decision whether to accept or reject the (as yet

 unspecified) treatment provided to them under this Plan.

                  4.         The Disclosure Statement Contains No Information Regarding Estate
                             Claims, Including Those Arising From the 2012 LBO and Dividend
                             Recaps, Which the Debtors Propose to Release Under The Plan

                  34.        The Debtors propose to release current and former directors and officers,

 lenders, agents and related entities – including Golden Gate and Blum – without any meaningful

 disclosure of potential claims that may exist against those parties, the value of those claims and

 any consideration that is being provided for the releases being granted.

                  35.        As set forth above, certain estate causes of action, including claims

 relating to the 2012 LBO and Dividend Recaps, remain unencumbered assets that would be

 available for the benefit of unsecured creditors. The Committee successfully managed to

 preserve such assets for the benefit of unsecured creditors in connection with the approval of DIP

 financing in these cases. Now creditors will be robbed of such value if the releases are approved.

 The claims must be specifically described and the basis for the release of those claims must be

 set forth with particularity.

                  36.        In re Master Mortgage Investment Fund, Inc., 168 B.R. 930 (Bankr. W.D.

 Mo. 1994), the court cited the following five factors to consider with respect to determining the

 propriety of releases under a plan:

                  1.      There must be an identity of interest between the debtor
                  and the third party such that a suit against the third party is, in
                  essence, a suit against the debtor or will deplete assets of the
                  estate;



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                  2.     The third party must contribute “substantial assets” to the
                  reorganization;

                  3.      The injunction is essential to reorganization. Without it,
                  there is little likelihood of success;

                  4.      A substantial majority of the creditors agree to such
                  injunction, specifically, the impacted class, or classes, has
                  overwhelmingly voted to accept the proposed plan treatment; and

                  5.      The plan must provide for payment of all or substantially of
                  the claims of the classes affected the third party release.

 None of the Master Mortgage requirements are satisfied by the information provided in the

 Disclosure Statement.

                  37.        Unless and until information is disclosed (and it may not be available as

 the Debtors’ investigation of potential claims is still in process), no determination can be made as

 to whether any plan releases are justified and, if so, for what value. The Disclosure Statement

 contains only conclusory statements about the propriety of the releases, but no facts

 substantiating such conclusions. The sole mention of these potentially valuable claims

 themselves is buried in a footnote referencing generic estate claims against the equity holders

 that MTO is investigating. See Disclosure Statement at n. 21. Creditors who will be deprived the

 potential value arising from these estate claims must be provided with adequate disclosure to

 enable them to determine whether to accept or reject these terms.

                  38.        Adding insult to injury, the Plan proposes that all unreleased causes of

 action (which would include avoidance actions against general unsecured creditors) will be

 retained by the Reorganized Debtors, such that the proceeds of such claims will inure only to the

 benefit of existing lenders as the owners of the Reorganized Debtors. Unsecured creditors could

 thus end up paying more to the estates than the presumably de minimis distribution offered under

 the Plan.



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                  39.        To make matters more confusing and misleading, the Disclosure

 Statement indicates in boilerplate fashion that:

                  The Plan shall be deemed a motion to approve the good-faith
                  compromise and settlement of all such Claims, Interests, Causes of
                  Action, and controversies pursuant to Bankruptcy Rule 9019, and
                  the entry of the Confirmation Order shall constitute the Bankruptcy
                  Court’s approval of such compromise and settlement under section
                  1123 of the Bankruptcy Code and Bankruptcy Rule 9019, as well
                  as a finding by the Bankruptcy Court that such settlement and
                  compromise is fair, equitable, reasonable, and in the best interests
                  of the Debtors and their Estates.

 Disclosure Statement at 28. Presumably the Debtors are invoking Bankruptcy Rule 9019 to

 justify the proposed releases, but there is no description whatsoever of the Causes of Action that

 are being “settled” as opposed to released, what the consideration is, or any facts to satisfy the

 typical Bankruptcy Rule 9019 factors.

                  5.         The Disclosure Statement Contains Insufficient Information
                             Regarding Classification and Treatment of Claims and Impacts on
                             Creditor Recoveries

                  40.        The Plan does not propose to substantively consolidate the Debtors’ assets

 and liabilities. As set forth above, general unsecured claims are relegated to four separate classes

 and provided disparate treatment. Intercompany claims will be canceled or reinstated at the

 Debtors’ discretion, with the Consenting Lenders’ consent. No valuation, projections or

 liquidation analysis have been filed and the Disclosure Statement otherwise does not contain

 sufficient information as to the relationship between the Debtor entities, the description of

 intercompany claims, and why there should not be substantive consolidation of certain Debtors

 for Plan or operating purposes. Separate classification and treatment of similarly situated

 creditors requires basic disclosure of the assets and liabilities, financial information and

 liquidation and reorganization values of each of the Debtors. Yet this is not provided. Absent

 such information, creditors cannot discern the impact on their recoveries.


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                  6.         The Disclosure Statement Contains No Disclosure Regarding the
                             Terms of the Management Equity Incentive Plan, the Cash Incentive
                             Plan, Or Their Proposed Recipients.

                  41.        The Disclosure Statement provides that the MEIP will be granted to

 “continuing employees of the Debtors and members of the New Board with pricing, vesting and

 exercise terms to be determined by the New Board upon consultation with the Chief Executive

 Officer of Reorganized Holdings.” Equity awards for 6-10% of the New Equity (on a fully

 diluted basis) will be provided to recipients under the MEIP. Such recipients will not be

 disclosed until the New Board members are identified in the Plan Supplement. In addition, the

 Debtors will assume the Cash Incentive Program, the terms of which are referenced as Exhibit H

 to the Disclosure Statement, but which were not filed or provided to the Committee. Creditors

 should be provided with adequate disclosure regarding the rich rewards to be handed out post-

 confirmation to insiders while general unsecured creditors presumably will receive meager

 recoveries.

                  42.        In a case such as this, where the Debtors, their insiders, and lenders are

 aggressively pushing forward on a Plan that gives general unsecured creditors so little, and

 where unencumbered assets are not being made available for general unsecured creditors,

 creditors should know exactly the state of affairs as to whether the Debtors’ current management

 team is going to be part of the Reorganized Debtors’ management team, and receive valuable

 stock grants under the MEIP, the terms of which are not disclosed. There is no meaningful

 discussion of this topic at all in the Disclosure Statement. Rather, such information will be

 provided prior to the confirmation hearing.

                  43.        It is hard to imagine that the Debtors have nothing more to disclose at this

 time about the contemplated post-effective date management and their compensation and

 incentive awards, when they are on a truncated confirmation timeline and accordingly are so


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 close to a confirmation hearing. Simply because such disclosures are also disclosures that must

 be made pursuant to section 1129(a)(5) in order to confirm any plan does not obviate the need to

 make such disclosures in the Disclosure Statement if they are material, as they clearly are in this

 case.

 C.      The Plan As Filed is Defective and Incapable of Being Confirmed

                  44.        While it is impossible to determine exactly what this Plan provides given

 the utter lack of any meaningful disclosure as set forth above, the Committee believes that the

 following preliminary obstacles to confirmation of the Plan exist.4

                  45.        The Plan is not feasible. Section 1129(a)(11) of the Bankruptcy Code

 requires that “confirmation of the plan is not likely to be followed by the liquidation, or the need

 for further financial reorganization, of the debtor or any successor to the debtor under the plan,

 unless such liquidation or reorganization is proposed in the plan.” 11 U.S.C. §1129(a)(11).

 Debtors are required to provide “ample evidence” to demonstrate that the Plan has a reasonable

 probability of success. See In re Acequia, Inc., 787 F.2d 1352, 1364 (9th Cir. 1986). Here, the

 Debtors propose to exit with $469 million of secured debt on their balance sheet at emergence,

 but provide no evidence (not even plan projections) that the Debtors can service this level of

 debt.

                  46.        The Plan will presumably be rejected by holders of general unsecured

 claims, and cannot be confirmed over their objection because it violates the best interest test.

 Section 1129(a)(7) of the Bankruptcy Code is often referred to as the “best interests of creditors

 test.” Section 1129(a)(7) requires that, with respect to each impaired class of claims or interests,

 (A) each holder of a claim or interest in such class (i) has accepted the plan, or (ii) will receive or


 4
   The Committee reserves its right to object to confirmation of the Plan (or any amended plan) on the grounds set
 forth herein and any other grounds.


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 retain under the plan property of a value that is not less than the amount that holder would

 receive or retain if the debtor liquidated under chapter 7. 11 U.S.C. §1129(a)(7). The best

 interests test is based on a hypothetical liquidation. 7 Collier on Bankruptcy ¶ 1129.03[7][b]

 (15th rev. ed. 2009) (“This means that, absent consent, a creditor or interest holder must receive

 property that has a present value equal to that participant’s hypothetical chapter 7

 distribution….”). In order to carry their burden, the Debtors must produce sufficient financial

 information about themselves, their assets and liabilities and their prospects to permit the

 bankruptcy court to judge whether the best interest test for confirmation has been satisfied. See

 In re Global Ocean Carriers Ltd., 251 B.R. 31, 46 (Bankr. D. Del. 2000).

                  47.        The Debtors have provided no evidence of going concern or liquidation

 value in these cases. There is no disclosure or analysis of potential actions that may be available

 to creditors, however the Plan proposes to give holders of unsecured claims less than their pro

 rata share of unencumbered assets, including potentially valuable claims arising from the 2012

 LBO and Dividend Recaps, among other claims. The Debtors cannot show that their plan

 provides at least as much to creditors as creditors would receive if the Debtors were liquidated.

                  48.        Moreover, the structure of the Plan indicates that the holders of

 Worldwide General Unsecured Claims will receive less value than their entitlement under the

 Bankruptcy Code. Holders of First Lien Secured Claims in Class 3 will receive 91% of the New

 Equity of the Reorganized Debtors. That amount is reduced by the New Equity allotment to

 holders of Worldwide General Unsecured Claims, the calculation of which takes into account

 (a) the deficiency claims held by the First Lien Lenders, and (b) the entire Second Lien claims,

 indicating that the Second Lien claims are fully unsecured. Thus, the holders of Worldwide

 General Unsecured Claims should share pari passu with the holders of Class 4 Second Lien




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 claims as to the New Equity not otherwise allocated to holders of First Lien Secured Claims in

 Class 3.

                  49.        The Plan cannot be confirmed over the rejection of an impaired class

 because it discriminates unfairly and is not fair and equitable. Section 1129(b)(1) permits

 confirmation of a plan notwithstanding its rejection by an impaired class, also known as a

 cramdown, only if, among other things, “the plan does not discriminate unfairly and is fair and

 equitable.” 11 U.S.C. § 1129(b)(1).

                  50.        The “unfair discrimination” standard ensures that a dissenting class will

 receive relative value equal to the value given to all other similarly situated classes. Thus a plan

 proponent may not segregate two similar claims or groups of claims into separate classes and

 provide disparate treatment for those classes. In re Johns-Manville Corp., 68 B.R. 618, 636

 (Bankr. S.D.N.Y. 1986), aff’d in part, rev’d in part on other grounds, 78 B.R. 407 (S.D.N.Y.

 1987), aff’d, Kane v. Johns-Manville Corp., 843 F.2d 636 (2d Cir. 1988). This Plan is

 discriminatory insofar as it provides disparate treatment of creditors who hold unsecured claims.

 Here, the Second Lien claims are vastly undersecured. However, the Second Lien Lenders will

 receive 9% of the New Equity, which is presumably more than will be offered to holders of

 general unsecured claims. The Debtors must demonstrate that the recovery to each of the

 unsecured creditor classes is justified by the debt structure and asset values of the Debtor entities

 and that the corporate structure of the Debtors is justified for business purposes and not set up as

 a mechanism to unfairly treat similarly situated creditors.

                  51.        The “fair and equitable” standard “ has at least two key components: the

 absolute priority rule; and the rule that no creditor be paid more than it is owed.” 7 Collier on

 Bankruptcy ¶1129.03[4][a]. In this case, without being able to test the Debtors’ valuation and its




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 underlying assumptions -- which have not yet been filed -- there is no way to determine whether

 the allocation of New Equity under the Plan violates the absolute priority rule and is not fair and

 equitable because it provides the Class 3 Secured Lien Lenders value in excess of the amount of

 their claims. For this reason, it is critical that the Committee’s professionals conduct an

 independent valuation and carefully review and scrutinize the Debtors’ valuation once it is filed.

                  52.        The Plan also contains broad, gratuitous and otherwise inappropriate direct

 and third party releases in favor of all the lenders and Debtors’ current and former officers.

 These releases improperly take away the only rights that unsecured creditors may have to seek as

 a recovery - their litigation rights - without adequately compensating them for such treatment.

 D.      Certain Solicitation and Tabulation Procedures Improperly
         Disenfranchise Creditors

                  53.        Finally, the Committee objects to certain of the solicitation and ballot

 tabulation procedures proposed in the Motion. At the time the Motion was filed, the Debtors had

 proposed a general claims bar date (the “Bar Date”) that would have occurred prior to

 solicitation. Since then the Court has entered an order (the “Bar Date Order”) establishing June

 19, 2017 as the Bar Date. Although the Debtors agreed that such timing required modifications

 to the proposed solicitation procedures, they have not yet posted a revised order containing any

 such modifications. Accordingly, the Committee respectfully requests that any order contain the

 modifications set forth below in order to preserve creditors’ fundamental right to vote to accept

 or reject the Plan. The Committee’s objections to the solicitation and tabulation procedures are

 as follows:




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                             •   The Debtors propose that the solicitation deadline be June 7, 2017 “or
                                 as soon as reasonably practicable thereafter.” Proposed Order at
                                 ¶¶ 7.b.; 10. The Debtors should not be permitted to vary from the
                                 solicitation deadline because it will result in less time for creditors to
                                 submit votes.


                             •   The voting and tabulation procedures should apply only absent a
                                 contrary order of this Court in the event unforeseen circumstances
                                 arise that require Court intervention. The Committee proposes that the
                                 provision “absent a contrary order of the Court” be added at the
                                 beginning of paragraphs 16 and 17 of the Proposed Order.


                             •   The proposed procedures enabling creditors to file motions pursuant to
                                 Bankruptcy Rule 3018 are flawed. Specifically, the Proposed Order
                                 states that such motions must be filed by the “Voting Resolution
                                 Deadline” but does not indicate what that date is. See Proposed Order
                                 at ¶19.b. In addition, the Debtors also are not required to file any
                                 responses to such motions, but may present them at the confirmation
                                 hearing. The Debtors must provide a reasonable timeline for the filing
                                 of motions and objections that affect a creditor’s right to vote, and
                                 must inform creditors who file such motions of any basis for objecting
                                 to them by way of a written response in advance of the confirmation
                                 hearing.


                             •   The Proposed Order provides for the possibility that the Debtors could
                                 object to a filed proof of claim and thereby affect the amount in which
                                 the vote on any such claim is counted, but do not provide a deadline
                                 for objecting to claims that will affect the amount of a creditor’s vote.
                                 See Proposed Order at ¶16.c. If the Debtors plan to object to claims
                                 prior to the voting deadline, they should be required to do so by a
                                 certain deadline that will provide such creditors with adequate time to
                                 file a motion pursuant to Bankruptcy Rule 3018.


                             •   The Proposed Order provides that a vote cast by the holder of a claim
                                 scheduled as contingent, unliquidated or disputed for which the Bar
                                 Date has not passed will be counted in the amount of $1.00 solely for
                                 purposes of section 1126(c). Proposed Order at ¶16.e. It then
                                 provides that a “Disputed Claim Notice” will be sent to entities with
                                 claims scheduled or filed as contingent, unliquidated or disputed, or
                                 for $0.00 or in an unknown amount. Such notice states, contrary to the
                                 foregoing provision, that the holders of such claims are not entitled to
                                 vote at all. See Proposed Order at Exhibit 4. Such notice should be
                                 revised to provide that votes cast by such holders will be counted in


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                                 the amount of $1.00 and should explicitly provide notice of the
                                 opportunity for such holders to file Bankruptcy Rule 3018 motions and
                                 the deadline to do so rather than a generic reference to their right to
                                 contest their status “in accordance with the Disclosure Statement
                                 Order.” Id.


                             •   The Bar Date Order provides that counterparties to unexpired leases
                                 may submit a cure statement to the Debtors by the Bar Date in lieu of a
                                 proof of claim in accordance with the terms of the Bar Date Order. In
                                 the event a cure statement is provided prior to the voting deadline, any
                                 vote cast by such a counterparty should be counted in the amount set
                                 forth in the cure statement as the prepetition amount owed.

                  54.        In addition, in the event the Disclosure Statement is amended to provide

 the missing information described herein and the Debtors proceed to solicitation, they should be

 required to include a letter from the Committee as part of the solicitation package.

                                                     IV.

                                      RESERVATIONS OF RIGHTS

                  55.        The Committee reserves its right to supplement this Objection at or prior

 to the hearing or continued hearing on the Disclosure Statement.

                                                       V.

                                               CONCLUSION

                  56.        Based on the foregoing, the Court should deny approval of the Disclosure

 Statement and direct the Debtors to notice a new disclosure statement hearing only after the

 actual document that they are seeking to have approved is on file.




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 Dated: May 24, 2017                        POLSINELLI P.C.

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